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                                                                CV16-
                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF NEW YORK
                                      MARIA COLLADO, MARINO LALANE, JOSE
                                                                                                                                2016 DEC 30 AH 8:1,3
                                      COLLADO, DELMIRA BAEZ, CARMEN LOPEZ
                                                                                                                                U.S. •;'..'-••-   - --
                                                                                         Plaintiff
                                                                            -vs-

                                      946 BUSHWICK AVENUE LLC, SAFEGUARD
                                                                                                                        REQUEST TO PROCEED
                                      REALTY MGMT, INC., GRAHAM JONES, and
                                                                                                                         IN FORMA PAUPERIS
                                      BENJAMIN SOPKIN


                                                                                                                       GLASSER, J.
                                                                                         Defendant(s)

                                                                                                                      BLOOM, MJ.

                                     I,            yiMifoi %Qg-z                         ., am the plaintiff in the above entitled case. I
                                     hereby request to proceed withoutbeingrequired to prepay fees or costs or give security therefore.
                                     I state that because of my poverty I amunable to pay the costs of saidproceeding or to givesecurity
                                     therefore, and I believe I am entitled to redress.

                                       1.           If you are presentlyemployed:
                                                            a) give the name and address of your employer
                                                             b) state the amount of your earnings per month

                                                        hli


                                                     If you are NOT PRESENTLY EMPLOYED:
                                                             a) state the date of startand termination of yourlastemployment
                                                             b) stateyour earnings per month.
                                                       YOU MUST ANSWER THIS QUESTION EVEN IF YOU ARE INCARCERATED.




                                                       Have you received, within the past twelve months, any money from anysource? If so,
                                                       name the source and the amount of money you received.
                                                         ^Cr.*A) ifCW\^
                                                                a) Are you receiving any public benefits?               [OyNo • Yes, $
                                                                b) Do you receive any income from any other source?     D No IpLYes, $ y [ , Qfap




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     4.        Do you have any money, including any money in a checking or savings account? If so,
               how much?


               i|H
      5.       Do you own any apartment, house or building, stocks, bonds, notes, automobiles or other
               property? If the answer is yes, describe the property and state its approximate value.

               0No DYes,

      6.       List the person(s) that you pay money to support and the amountyou pay each month.




      7.       Do you pay for rent or for a mortgage? If so, how much each month?

               rent $ 4^3, Uq ^//vm/i-ft/)
      S.        State any special financial circumstances which the Court should consider.




      I understand that the Court shall dismiss this case if I give a false answer to any question in this
      declaration. In addition, if I give a false answer I will be subject to the penalties for perjury.

      I declare under the penalty of perjury that the foregoing is true and correct.




      Dated:     12/30/16
                                                                               (signature)                   v-/
       rev. 7/2002
                  Case 1:16-cv-07173-ILG-LB Document 2 Filed 12/30/16 Page 3 of 10 PageID #: 16




                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF NEW YORK

                                      MARIA COLLADO, MARINO LALANE, JOSE
                                      COLLADO, DELMIRA BAEZ, CARMEN LOPEZ

                                                                                          Plaintiff
                                                                            -vs-

                                      946 BUSHWICK AVENUE LLC, SAFEGUARD                                                 REQUEST TO PROCEED
                                      REALTY MGMT, INC., GRAHAM JONES, and                                                IN FORMA PA UPERIS
                                      BENJAMIN SOPKIN



                                                                                          Defendant(s)




                                      I,             y ill IV"V\ LPy^ •f"                                ,am the plaintiff in the above entitled case. I
                                      hereby request to proceed without being requiredto prepay fees or costs or give security therefore.
                                      I state that because of my poverty I amunable to pay the costsof said proceeding or to give security
                                      therefore, and I believe I am entitled to redress.

                                       1.            If you are presently employed:
                                                              a) give the name and address of your employer
                                                              b) state the amount of your earnings per month

                                                  A) ^oa^d o£6d(/tCfrfcM


                                      2.              If you are NOT PRESENTLY EMPLOYED:
                                                              a) state the date of start and termination of your last employment
                                                              b) state your earnings per month.
                                                         YOU MUST ANSWER THIS QUESTION EVEN IF YOU ARE INCARCERATED.




                                       3.              Have you received, within the past twelve months, any money from any source? If so,
                                                       name the source and the amount of money you received.


                                                                a) Are you receiving any public benefits?                J5lNo DYes, $
                                                                b) Do you receive any income from any other source?      Q No POfes, $ \ QQQ. QO




n Fo"*wi Pjupe«isFomwGefwal-U.S. OofrKlCourt-lONY R«v. 6/700?
Case 1:16-cv-07173-ILG-LB Document 2 Filed 12/30/16 Page 4 of 10 PageID #: 17




     4.        Do you have any money, including any money in a checking or savings account? If so,
               how much?




      5.       Do you own any apartment, house or building, stocks, bonds, notes, automobiles or other
               property? If the answer is yes, describe the property and state its approximate value.

               0No DYes,

      6.       List the person(s) that you pay money to support and the amountyou pay each month.

               _m

      7.       Do you pay for rent or for a mortgage? If so, how much each month?

               RENTftgjlfCT.H^" bfr Montin.
      S.        State any special financial circumstances which the Court should consider.




      I understand that the Court shall dismiss this case if I give a false answer to any question in this
      declaration. In addition, if I give a false answer I will be subject to the penalties for perjury.

      I declare under the penalty of perjury that the foregoing is true and correct.




      Dated: '2/30/16                                             U^
                                                                               (signature)

       rev. 7/2002
                   Case 1:16-cv-07173-ILG-LB Document 2 Filed 12/30/16 Page 5 of 10 PageID #: 18




                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF NEW YORK
                                         MARIA COLLADO, MARINO LALANE, JOSE
                                         COLLADO, DELMIRA BAEZ, CARMEN LOPEZ

                                                                                                Plaintiff
                                                                                 -vs-

                                        946 BUSHWICK AVENUE LLC, SAFEGUARD                                                        REQUEST TO PROCEED
                                        REALTY MGMT, INC., GRAHAM JONES, and                                                       IN FORMA PAUPERIS
                                         BENJAMIN SOPKIN



                                                                                                Defendant(s)




                                        I,                          /Uqr^o UIqai
                                                                    psyUJtViO l(AlUfV£                           , am the plaintiff in the above entitled case. I
                                        hereby request to proceed without being required to prepay fees or costs or give security therefore.
                                        I state that because of my poverty I am unable to pay the costsof said proceeding or to give security
                                        therefore, and I believe I am entitled to redress.

                                          1.             If you are presently employed:
                                                                  a) give the name and address of your employer
                                                                  b) state the amount of your earnings per month

                                                               SUA


                                                          If you are NOT PRESENTLY EMPLOYED:
                                                                  a) state the date of start and termination of your last employment
                                                                  b) state your earnings per month.
                                                              YOU MUST ANSWER THIS QUESTION EVEN IF YOU ARE INCARCERATED.




                                                            Have you received, within the past twelve months, any money from any source? If so,
                                                            name the source and the amount of money you received.


                                                                     a) Are you receiving any public benefits?                   jQ No D Yes, $
                                                                     b) Do you receive any income from any other source?         • No piYes, S |m« W




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Case 1:16-cv-07173-ILG-LB Document 2 Filed 12/30/16 Page 6 of 10 PageID #: 19




     4.        Do you have any money, including any money in a checking or savings account? If so,
               how much?




      5.       Do you own any apartment, house or building, stocks, bonds, notes, automobiles or other
               property? If the answer is yes, describe the property and state its approximate value.

               0No DYes,

      6.       List the person(s) that you paymoneyto support and the amount you pay each month.




      7.        Do you pay for rent or for a mortgage? If so, how much each month?



      S.        State any special financial circumstances which the Court should consider.




      I understand that the Court shall dismiss this case if I give a false answer to any question in this
      declaration. In addition, if I give a false answer I will be subject to the penalties for perjury.

      I declare under the penalty of perjurythat the foregoing is true and correct.




      Dated: '2/30/16                                        ^^V^l^/^^t)
                                                                               (signature)

       rev. 7/2002
                 Case 1:16-cv-07173-ILG-LB Document 2 Filed 12/30/16 Page 7 of 10 PageID #: 20




                                    UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF NEW YORK
                                     MARIA COLLADO, MARINO LALANE, JOSE
                                     COLLADO, DELMIRA BAEZ, CARMEN LOPEZ

                                                                                           Plaintiff
                                                                            -vs-

                                     946 BUSHWICK AVENUE LLC, SAFEGUARD                                              REQUEST TO PROCEED
                                     REALTY MGMT, INC., GRAHAM JONES, and                                              MFM?MJ PA TIPFBTV
                                     BENJAMIN SOPKIN                                                                   iN tUKMA ™ U™M*

                                                                                           Defendant(s)




                                    I,                  Jo<y £o\Uol
                                              yt\Jy^<—lv>M iA o1a>                        9am the plaintiffin the above entitled case. I
                                    hereby request to proceed without being required to prepay fees or costs or give security therefore.
                                    I state that because ofmy poverty I am unable to pay the costs ofsaid proceeding ortogive security
                                    therefore, and I believe I am entitled to redress.

                                      1.            If you are presently employed:
                                                                 a) give thename and address ofyour employer
                                                                 b) state the amount of yourearnings per month

                                                       HA


                                    2.               If you are NOT PRESENTLYEMPLOYED:
                                                             a) state the date of start and termination ofyour last employment
                                                             b) stateyourearnings per month.
                                                         YOU MUST ANSWER THIS QUESTION EVEN IF YOU ARE INCARCERATED.




                                     3.                Have you received, within the past twelve months, any money from any source? If so,
                                                       name the source and the amountof moneyyou received.


                                                               a) Are you receiving any public benefits?             p^No D Yes, $
                                                               b) Do you receive any income from any other source?   • No jJCYes, $ g^fO. CO




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Case 1:16-cv-07173-ILG-LB Document 2 Filed 12/30/16 Page 8 of 10 PageID #: 21




               Do you have any money, including any money in a checking or savingsaccount? If so,
               how much?


                JMP-
      5.       Do you own any apartment, house or building, stocks, bonds, notes, automobiles or other
               property? If the answer is yes, describe the propertyand state its approximate value.

               ENo DYes,

      6.       List the person(s) that you paymoneyto support and the amount you pay each month.




      7.       Do you pay for rent or for a mortgage? If so, how much each month?

               rent srqa.oo
      S.       State any special financial circumstances which the Court should consider.


               -Hit



      I understand that the Court shall dismiss this case if I give a false answer to any question in this
      declaration. In addition, if I give a false answer I will besubject to the penalties for perjury.

      I declare under the penalty of perjury that the foregoing is true and correct.




      Dated:    12/30/16                                     (\aA^
                                                                              (signature)

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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF NEW YORK
                                         MARIA COLLADO, MARINO LALANE, JOSE
                                         COLLADO, DELMIRA BAEZ, CARMEN LOPEZ

                                                                                                Plaintiff
                                                                                 -vs-

                                         946 BUSHWICK AVENUE LLC, SAFEGUARD                                                      REQUEST TO PROCEED
                                         REALTY MGMT, INC., GRAHAM JONES, and                                                     jjy fORMA PAUPERIS
                                         BENJAMIN SOPKIN



                                                                                                Defendant(s)




                                         I,                         ftAflrt*       Lb"&0*0                       sarn the plaintiffin the above entitled case. I
                                        hereby request to proceed without being required to prepay fees or costs or give security therefore.
                                        I state that because of my poverty I amunable to pay the costsof said proceeding or to give security
                                        therefore, and I believe I am entitled to redress.

                                          1.             If you are presently employed:
                                                                  a) give the nameand address of youremployer
                                                                  b) state the amount of your earnings per month

                                                               VJ|A


                                                          If you are NOT PRESENTLY EMPLOYED:
                                                                  a) state the date of start and termination of your last employment
                                                                  b) state your earnings per month.
                                                              YOU MUST ANSWER THIS QUESTION EVEN IF YOU ARE INCARCERATED.




                                         3.                 Have you received, within the past twelve months, any money from any source? If so,
                                                            name the source and the amount of money you received.


                                                                     a) Are you receiving any public benefits?                  /S^o • Yes, $
                                                                     b) Do you receive any income from any other source?         D No pkYes, S 1/J-j . UU




n Forms P*uDdlFoff*'-G<**'«l*U.S-t)'ttr'CtCour1-EDMV   R«v. V700?
Case 1:16-cv-07173-ILG-LB Document 2 Filed 12/30/16 Page 10 of 10 PageID #: 23




      4.        Do you have any money, including any money in a checking or savings account? If so,
                how much?


                m
      5.        Do you own any apartment, house or building, stocks, bonds, notes, automobiles or other
                property? If the answer is yes, describe the property and state its approximate value.

                0No DYes,

      6.        List the person(s) that you pay money to supportand the amountyou pay each month.




      7.        Do you pay for rent or for a mortgage? If so, how much each month?

                RENT S kcl. (% ftV /vta/\-tt>
      S.        State any special financial circumstances which the Court should consider.

                     N/A



      I understand that the Court shall dismiss this case if I give a false answer to any question in this
      declaration. In addition, if I give a false answer I will be subject to the penalties for perjury.

       I declare under the penalty of perjury that the foregoing is true and correct.




       Dated:    '2/30/16                                      MaJUjk^
                                                                               (signature)

       rev. 7/2002
